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                                                                                   United States District Court
                                                                                     Southern District of Texas

                                                                                        ENTERED
                             UNITED STATES DISTRICT COURT                               June 28, 2018
                              SOUTHERN DISTRICT OF TEXAS                             David J. Bradley, Clerk
                                  HOUSTON DIVISION

KIMBERLY MADISON MERRICK,                       §
                                                §
        Plaintiff,                              §
VS.                                             §   CIVIL ACTION NO. 4:17-CV-2666
                                                §
KOHL’S DEPARTMENT STORES, INC.,                 §
                                                §
        Defendant.                              §

                                      ORDER OF DISMISSAL


       In accordance with the Stipulation of Dismissal filed on June 21, 2018 (Doc. 18) this case

is DISMISSED with prejudice pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(ii).

Each party will bear its own costs and fees.

       SIGNED at Houston, Texas, this 27th day of June, 2018.


                                                ___________________________________
                                                         MELINDA HARMON
                                                  UNITED STATES DISTRICT JUDGE




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